        Case 1:18-cv-01144-EAW-HKS Document 1 Filed 10/17/18 Page 1 of 4



UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

NICHOLAS A. LONG,

                            Plaintiffs,
v.

COUNTY OF ORLEANS,                                         Civ. No.:
ORLEANS COUNTY SHERIFF’S DEPARTMENT,
SHERIFF RANDY BOWER,
UNDERSHERIFF CHRISTOPHER M. BOURKE,

                            Defendants.



                                 NOTICE OF REMOVAL


              PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. § 1446, Defendants

County of Orleans, Orleans County Sheriff’s Department, Sheriff Randy Bower and

Undersheriff Christopher M. Bourke (“Orleans County Defendants”), hereby remove the

action pending in the State of New York, County of Orleans, entitled NICHOLAS A.

LONG v. ORLEANS COUNTY, ORLEANS COUNTY SHERIFF’S DEPARTMENT,

SHERIFF RANDY BOWER and UNDERSHERIFF CHRISTOPHER M. BOURKE, Index

No. 18-44801, to the United States District Court, Western District of New York, and that

this Notice of Removal, together with a copy of all process, pleadings, and orders, have

been filed in the Office of the United States District Court for the Western District of New

York.

              The grounds for removal are as follows:
      Case 1:18-cv-01144-EAW-HKS Document 1 Filed 10/17/18 Page 2 of 4




              1.     On or about September 28, 2018, the Plaintiff commenced an

action against the Orleans County Defendants in the State of New York, County of

Orleans, identification number 18-44801, with the above caption, by the filing of a

Summons and Complaint. The Summons and Complaint were served on the Orleans

County Defendants. Copies of the Summons and Complaint are annexed as Exhibit A.

Less than thirty (30) days have passed since receipt of the Summons and Complaint by

the Orleans County Defendants. No further proceedings have been had herein.



              2.     Plaintiffs’ complaint alleges that Defendants violated Plaintiff’s civil

rights and therefore brings a claim pursuant to 42 U.S.C. § 1983.


              3.     As the complaint is a civil action arising under the Constitution, laws

or treaties of the United States, this Court has original jurisdiction pursuant to 28 U.S.C.

§ 1331.


              4.     This Court has supplemental jurisdiction over the claims asserted

pursuant to 28 U.S.C. 1367, because those claims form part of the same case or

controversy as Plaintiffs’ claim under 42 U.S.C. § 1983.


              5.     This action is removable to this Court pursuant to 28 U.S.C. § 1441.


              6.     Pursuant to 28 U.S.C. § 1446, not more than thirty (30) days have

elapsed since Defendants received Plaintiffs’ summons and complaint. Written notice

of the filing of this notice of removal, along with all attachments hereto, has been

provided to Plaintiff’s attorney. The written notice of filing and a copy of this notice of

removal will be filed with the Clerk of the Supreme Court of the County of Orleans

contemporaneously with the filing in this Court.
         Case 1:18-cv-01144-EAW-HKS Document 1 Filed 10/17/18 Page 3 of 4




               WHEREFORE, the Orleans County Defendants request that the action

now pending against it in the State of New York, County of Orleans, be removed to this

Court.


DATED:         October 17, 2018
                                       WEBSTER SZANYI LLP
                                       Attorneys for Defendants
                                       County of Orleans, Orleans County Sheriff’s
                                       Department, Sheriff Randy Bower and
                                       Undersheriff Christopher M. Bourke



                                       By:    s/ Michael P. McClaren
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     Case 1:18-cv-01144-EAW-HKS Document 1 Filed 10/17/18 Page 4 of 4




            INDEX OF DOCUMENTS FILED WITH STATE COURT



Exhibit A        Summons and Complaint
                 Filed September 28, 2018 with Orleans County Clerk
